Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 1 of 14 PageID 245




                                                          FCSL - 000182
                                                                 000184
Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 2 of 14 PageID 246




                                                          FCSL - 000183
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 3 of 14 PageID 247




                                                          FCSL - 000184
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 4 of 14 PageID 248




                                                          FCSL - 000185
                                                                 000187
Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 5 of 14 PageID 249




                                                          FCSL - 000186
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 6 of 14 PageID 250




                                                          FCSL - 000187
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 7 of 14 PageID 251




                                                          FCSL - 000188
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 8 of 14 PageID 252




                                                          FCSL - 000189
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 9 of 14 PageID 253




                                                          FCSL - 000190
                                                                 000192
Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 10 of 14 PageID 254




                                                           FCSL - 000191
                                                                  000193
Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 11 of 14 PageID 255




                                                           FCSL - 000192
                                                                  000194
Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 12 of 14 PageID 256




                                                           FCSL - 000193
                                                                  000195
Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 13 of 14 PageID 257




                                                           FCSL - 000194
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Case 3:21-cv-00721 Document 1-22 Filed 07/20/21 Page 14 of 14 PageID 258




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